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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


United States of America,                            :      Case No. 3:05CR781

                       Plaintiff,                    :

               v.                                    :      MAGISTRATE’S REPORT
                                                            AND RECOMMENDATION
John A. Martinez, et al.,                            :

                       Defendants.                   :

       This is a criminal case in which pretrial matters have been referred to the undersigned

magistrate for initial hearing and determination. Pending before the court is Defendant Ricardo

Medrano’s motion to suppress the fruits of a search conducted pursuant to a search warrant on

December 11, 2002 at 125 Esther Street, Toledo, Ohio (Docket No. 199). The government’s

response is included in its omnibus response at pages 8 through 15 (Docket No. 267). The

magistrate’s recommendation as to the pending motion follows.

                                        BACKGROUND

       A fifty count indictment filed September 8, 2005, charges twenty-one defendants. Defendant

Ricardo Medrano is charged in Count I with conspiracy to possess with intent to distribute cocaine,

cocaine base (crack), in violation of 21:841(a)(1) and 846; and in Count IV with possession with
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intent to distribute cocaine, in violation of 21:841(a)(1). The indictment sets forth the purpose,

object, manner and means by which the goals of the conspiracy were allegedly met and describes

two hundred thirty four overt acts in furtherance of the conspiracy. The indictment includes a

forfeiture specification.

       In his motion, Defendant Medrano seeks to suppress the fruits of the search conducted on

December 11, 2005.

                                               DISCUSSION

       In this case, a warrant was issued based on the following facts outlined in the affidavit:

       1. On December 11, 2002, this affiant along with other members of the Toledo Police

Interdiction Unit seized 4 kilograms of cocaine and wrappings from a fifth kilogram of cocaine from

a local motel. The subject arrested with the cocaine was Brian Summers. Brian Summers, during

interrogation, stated that he lived at 125 Ester street, in Toledo, Lucas County, Ohio, on the east side

of Toledo. Summers also stated that he had an additional kilogram of cocaine currently at 125 Ester

Street that would be present in a safe that he had recently purchased.

       2. Brian Summers further stated that a Hispanic male by the street name of “Okie Dokie” was

staying at the location, and was in possession of a 9mm semi-auto handgun. Brian Summers further

stated that a large amount of U.S. Currency was present at the location derived from his drug sales.

       3. An investigation into the information found 125 Ester to be a valid address located on the

east side of Toledo.

       4. This affiant has been a police officer for 15 years and has been involved in narcotics

investigations for over nine years. This affiant has received training in drug investigations from the

United States Drug Enforcement Administration and has also received training in drug interdiction.


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This affiant has conducted numerous narcotics investigations that have led to the arrest and

conviction of narcotics traffickers (Docket No. 270-2, Exhibit 2). Finding risk of physical harm to

law enforcement officers and others under O.R.C. § 2933.231(B)(1), Judge Bates issued a warrant

authorizing a no-knock night search of 125 Ester Street (Docket No. 270-2, Exhibit 1).

                               Sufficiency of No-Knock Affidavit

       The critical question is whether the allegations contained in the affidavit were sufficient to

show exigent circumstances to justify the no-knock nighttime warrant. Johnson, 267 F.3d 498, 500

(6th Cir. 2001). Here, two potential exigent circumstances exist: (1) the probable destruction of

illegal drug evidence; and (2) the presence of a firearm in “Okie Dokie’s” possession.

       Although destruction of illegal drug evidence may create an exigent circumstance, the

government must assert “imminence”. The mere possibility or generalized fear that a party will

destroy evidence when faced with a warrant is not sufficient to create an exigency. U.S. v. Smith,

386 F.3d 753, 760 (6th Cir. 2004); Bates, 84 F.3d at 796 (citing U.S. v. Radka, 904 F.2d 357, 362 (6th

Cir. 1990); U.S. v. Becker, 23 F.3d 1537, 1541 (9th Cir. 1994). The fact that the warrant is pursuant

to a felony drug investigation does not automatically create exigent circumstances to justify a no-

knock warrant. Richards v. Wisconsin, 117 S. Ct. 1416, 1422 (1997); Ingram v. City of Columbus,

185 F.3d 579, 590 (6th Cir. 1999).

       The affidavit, herein, contains no assertions that would suggest an imminent threat of

destruction of evidence. Although it might be asserted that destruction in this case would be easier

given the relatively small quantity (1 kilogram), that assertion is weakened by the fact that the

affidavit itself states the illegal drugs were in a safe (Docket No. 270-2, Exhibit 2). Even assuming

the occupants could unlock the safe, it appears unlikely that the occupants of the searched dwelling


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would have enough time to open a safe and dispose of evidence in the time it takes officers to

“knock and announce.” See United States v. Spikes, 158 F.3d 913, 927 (6th Cir. 1998) (considering

the time the warrant was executed, potential of gun-fire, and destruction of illegal drug evidence,

the Court found that police acted reasonable by waiting 15-20 seconds before entering the

residence).

       In Bates, the Sixth Circuit rejected an argument for exigent circumstances when officers

searched a dwelling containing fifteen kilograms of cocaine. Bates, 84 F.3d at 796. The Court

reasoned that it would be difficult to quickly dispose of fifteen kilograms of cocaine in the time it

takes officers to knock and announce. Id. The Court also stated that there was no evidence to

suggest that the defendants were likely to dispose of the drugs. Id. Although the quantity of

evidence in this case is different, the same overall issue is present: it would be difficult to quickly

dispose of evidence that was in a safe. Also, like Bates, there is no evidence contained in the

affidavit to suggest that the occupant of the dwelling would dispose of the drugs. In addition, it is

not even known whether the occupants of the dwelling had the capacity to open the safe where the

drugs were stored to dispose of them. A “mere suspicion” that the drugs would be destroyed, by

itself, is insufficient to create exigent circumstances. Bates, 84 F.3d at 796. Therefore, exigent

circumstances do not exist with respect to presence of illegal drugs.

       The affidavit also states that an occupant of the dwelling to be searched possessed a 9mm

semi-auto handgun (Docket No. 270-2, Exhibit 2). This circuit has made clear, however, that the

mere presence of a firearm in a dwelling to be searched is insufficient to create an exigent

circumstance justifying a no-knock warrant. U.S. v. Smith, 386 F.3d 753, 760 (6th Cir. 2004) (citing

Bates, 84 F.3d at 795). On the other hand, evidence that the occupant has “a criminal record


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reflecting violent tendencies…can be enough to provide law enforcement officers with justification

to forego the necessity of knocking and announcing their presence.” Id. (citing Bates, 84 F.3d at

795); See also U.S. v. Nabors, 901 F.2d 1351, 1354 (6th Cir. 1990) (finding exigent circumstances

where the affidavit alleged that Nabors was “suspected of trafficking in narcotics, was a felon in the

possession of an array of firearms, and habitually wore a bullet-proof vest.”).

         The fact pattern presented in this case is almost exactly like that presented in Bates where

officers were informed that a firearm was present in an apartment to be searched. The government

argued that the presence of a firearm created an exigent circumstance justifying no-knock entry, but

the Sixth Circuit soundly rejected the argument. Bates, 84 F.3d at 796. Likewise, in Smith this

Circuit rejected an argument offered to show exigent circumstances when it was known: (1) that

weapons were in the dwelling; and (2) that one occupant was a member of an outlaw biker

organization with prior drug and weapons convictions. Smith, 386 F.3d at 760.

         Here, no evidence was presented in the affidavit to suggest that any of the occupants of 125

Ester Street were violent, had a criminal record, had threatened officers, or had a general reputation

for violence. The affidavit merely states that a man by the street name of “Okie Dokie” was in the

dwelling and possessed a 9mm semi-auto handgun (Docket No. 270-2, Exhibit 2). This assertion

is clearly insufficient to create exigent circumstances under Smith and Bates.

         For all the aforementioned reasons, the affidavit used to obtain the search warrant did not

contain sufficient functional allegations and reliable information to support a “no-knock” night

search.1

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           Since probable cause did not exist to issue a no-knock warrant, it would seem self-evident that “urgent
necessity” for a night search also did not exist; however, the standard of review for the former inquiry is de novo; the
later, abuse of discretion. Bates, 84 F.3d at 794; State v. Marko, 303 N.E. 2d 94, 100 (Ohio App. 10th Dist. 1973).
Even assuming that “urgent necessity” did exist, the warrant would still be problematic for its “no-knock” authority

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                                             Good Faith Exception

         Although the warrant may be facially and substantively insufficient, the evidence may

nonetheless be used if the evidence was “obtained in the reasonable good-faith belief that a search

or seizure was in accord with the Fourth Amendment.” U.S. v. Leon, 104 S. Ct. 3405, 3413 (1984).

The good-faith analysis asks: “whether a reasonably well-trained officer would have known that the

search was illegal despite the magistrate’s authorization.” Id. at 3421, n. 23. The reasonableness of

the officer’s reliance upon a search warrant is an objective test and the officer’s state of mind is

irrelevant. Id. at 3414.2 “[Searches] pursuant to a warrant will rarely require any deep inquiry into

reasonableness for a warrant issued by a magistrate normally suffices to establish that a law

enforcement officer has acted in good faith in conducting the search..” Id. at 3420. “It is the

magistrate's responsibility to determine whether the officer's allegations establish probable cause

and, if so, to issue a warrant comporting in form with the requirements of the Fourth Amendment.

In the ordinary case, an officer cannot be expected to question the magistrate's probable cause

determination or his/her judgment that the form of the warrant is technically sufficient.” Id. at 3419.

         An officer would not act in good faith if the underlying affidavit were “so lacking in indicia

of probable cause as to render official belief in its existence entirely unreasonable.” Id. at 3421.

(citing Brown v. Illinois, 95 S. Ct. 2254, 2265 (1975) (Powell, J., concurring in part). A warrant,

so described, is generally one that contains “wholly conclusory statements, with lack of facts and

circumstances from which a magistrate can independently determine probable cause.” U.S. v.

Satterwhite, 980 F.2d 317, 320-21 (5th Cir. 1992); See also U.S. v. Williams, 224 F.3d 530, 533 (6th


absent exigent circumstances, which have been shown not to exist in this case.
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           Thus, the officer’s fifteen years of experience, herein, would not be relevant that he should have known
that his affidavit was insufficient (Docket 270-2, Exhibit 2).

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Cir. 2000) (“Thus, a ‘bare bones’ affidavit is similar to, if not the same as, a conclusory affidavit.

It is “one which states ‘only the affiant's belief that probable cause existed.’” U.S. v. Finch, 998 F.2d

349, 353 (6th Cir. 1993) (quoting U.S. v. Ciammitti, 720 F.2d 927, 932 (6th Cir. 1983)).

        In the present case the no-knock night season warrant was issued based on an affidavit that

alleged drugs and U.S. Currency were in the dwelling and that an occupant possessed a 9mm semi-

auto hand gun (Docket No 270-2, Exhibit 2). The good faith inquiry is necessarily limited in the

present case because a warrant was issued by a detached judicial officer, which generally entitles

the officer to act in furtherance of the warrant in good faith. Leon, 104 S. Ct. at 3420. Officers are

not to second guess a magistrate’s probable cause determination; however, an officer may have,

nonetheless, acted in bad faith if the affidavit was “so lacking in indicia of probable cause as to

render official belief in its existence entirely unreasonable” or states only “the affiant’s belief that

probable cause existed.” Id. at 3421 (citing Brown v. Illinois, 95 S. Ct. 2254, 2265 (1975) (Powell,

J., concurring); U. S. v. Finch, 998 F.2d 349, 353 (6th Cir. 1993) (quoting U.S. v. Ciammitti, 720

F.2d 927, 932 (6th Cir. 1983)).

        The question, then, is whether the affidavit was merely conclusory or so lacking that it would

be entirely unreasonable that an objectively reasonable officer should have refrained from executing

the warrant. The affidavit does not appear to be conclusory—that is “merely state the affiant’s belief

that probable cause existed.” Instead the affidavit gives a relevant factual basis that establishes

probable cause. The information gathered followed a narcotics arrest, where the suspect specifically

named the address and identified it as his residence (Docket 270-2, Exhibit 2). The suspect

confessed to possessing cocaine at the address given and the address was verified. (Id.). Finally,

the suspect warned officers that an occupant of the dwelling was in possession of a 9mm semi-auto


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handgun. The information was collected on December 11, 2002 (Id.). The affidavit and warrant

issued the same day, December 11, 2002 (Docket No. 270-2, Exhibit 1). As such, the affidavit was

not conclusory and was not so lacking as to render it unreasonable.

       Although it might be argued that a reasonable officer should have known that the mere

presence of drugs and a weapon does not justify a no-knock night season search, a reasonable

officer could conclude that a combination of drugs, weapons, and U.S. Currency could give rise to

exigent circumstances. O.R.C. § 2933.231(B)(1) states that a no-knock warrant shall issue if the

affiant has “good cause to believe that there is a risk of serious physical harm to the law enforcement

officers,” and the issuing judicial officer agreed such risk existed (Docket No. 270-2, Exhibit 1).

The U.S. Supreme Court has suggested that an officer’s good faith would rarely be questioned once

a detached magistrate has issued a warrant. Leon, 104 S. Ct. at 3420. Further the U.S. Supreme

Court has stated that when a warrant has been issued and later found to lack probable cause, the

exclusionary rule should only be applied when applying the exclusionary rule would deter police

misconduct. U.S. v. McClain, 430 F.3d 299, 307 (6th Cir. 2005) (citing Leon, 104 S. Ct. at 3418).

This is not a case alleging police misconduct; nor is the affidavit so conclusory or lacking that the

officer could not reasonably rely upon it. Therefore, the good faith exception should apply and the

evidence should be admitted.

Whether the Court’s failure to record the probable cause hearing pursuant to O.R.C. § 2933.221(E)
renders the warrant ineffective?

Ohio Revised Code § 2933.231(E) states:

       Any proceeding before a judge or magistrate that involves a request for a waiver of
       the statutory precondition for non-consensual entry shall be recorded by shorthand,
       by stenotype, or by any other mechanical, electronic, or video recording device. The
       recording of and any transcript of the recording of such a proceeding shall not be a
       public record for purposes of Section 149.43 of the Revised Code until the search

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       warrant is returned by the law enforcement officer or other authorized officer who
       executes it. This division shall not be construed as requiring, authorizing, or
       permitting, and does not require, authorize, or permit, the making available for
       inspection, or the copying, under Section 149.43 of the Revised Code of any
       confidential law enforcement investigatory record or trial preparation record, as
       defined in that section.

       In this case, law enforcement alleges that the proceeding was taped; however, as of March

17, 2006 no record of the proceeding has been located (Docket No. 270-1, pg. 11, fn 1). Even if no

recording were made as required by Ohio law, the Supreme Court of Ohio has consistently held that

the exclusionary rule should not be applied absent constitutional violations, unless explicitly

required by the legislature. State v. Baker, 621 N.E.2d 1347, (Ohio App. 1st Dist. 1993) (citing State

v. Thompson, 514 N.E.2d 407, 415 (Ohio 1987); Kettering v. Hollen, 416 N.E.2d 598, 600 (Ohio

1980). See also, State v. Allen, 442 N.E.2d 784, 786 (Ohio1981)).

       The magistrate finds that the failure to record is clearly a statutory violation of O.R.C. §

2933.231(E); however, such a violation does not trigger the exclusionary rule unless the statutory

deprivation is, itself, a constitutional deprivation. Counsel did not cite and the magistrate did not

find a decision finding that the deprivation of a probable cause hearing record is, in itself, a

constitutional deprivation. Therefore, the violation of O.R.C. § 2933.231(E) does not make the

search unreasonable and does not require the evidence to be excluded.




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                                       CONCLUSION

       For the foregoing reasons, the undersigned finds that the fruits of the search should be

admitted pursuant to the good faith exception and accordingly recommends that the motion to

suppress be overruled (Docket No. 199).



                                       /s/ Vernelis K. Armstrong
                                       U. S. Magistrate Judge

                                           NOTICE

       Please take notice that as of this date the Magistrate's Report and Recommendation attached

hereto has been filed.

       Please be advised that, pursuant to rule 5.3(b) of the Local Rules for this District, the parties

have ten (10) days after being served in which to file objections to said Report and

Recommendation. A party desiring to respond to an objection must do so within ten (10) days after

the objection has been served.

       Please be further advised that the Sixth Circuit Court of Appeals, in United States v. Walters

638 F.2d 947 (6th Cir. 1981) held that failure to file a timely objection to a Magistrate's Report and

Recommendation foreclosed appeal to the Court of Appeals. In Thomas v. Arn, 474 U.S. 140

(1985), the Supreme Court upheld that authority of the Court of Appeals to condition the right of

appeal on the filing of timely objections to a Report and Recommendation.




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